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AO 442 (Rev. 01/09) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                        District
                                                 __________      of Colorado
                                                             District of __________

                  United States of America
                             v.                                   )
                                                                  )
                                                                  )        Case No. 13-cr-00392-CMA
               GEORGE THOMAS BROKAW                               )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      GEORGE THOMAS BROKAW                                                                              ,
who is accused of an offense or violation based on the following document filed with the court:

✔
u Indictment              u Superseding Indictment       u Information        u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
 18 U.S.C. § 286 - Conspiracy to File False Claims for Refund
 18 U.S.C. § 287 - False Claim for Refund (Form 1099-OID)
 18 U.S.C. § 371 - Conspiracy to Corruptly Endeavor to Obstruct or Impede the Due Administration of the Internal Revenue
                   Laws
 26 U.S.C. § 7212(a) - Endeavor to Obstruct or Impede the Due Administration of the Internal Revenue Laws
 18 U.S.C. § 2 - Aiding and Abetting



Date:    09/23/2013                                                                    s/D. Kalsow, Deputy Clerk
                                                                                         Issuing officer’s signature

City and state:       Denver, Colorado                                              Jeffrey P. Colwell, Clerk of Court
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
